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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA
                            Case No.: 0:21-cr-00174 (NEB/DTS)


United States of America,                            )
                                                     )
                              Plaintiff,             )     STATEMENT OF FACTS IN
       v.                                            )     SUPPORT OF EXCLUSION OF
                                                     )     TIME UNDER SPEEDY TRIAL
William Howard Proto, Jr.,                           )     ACT
                              Defendant.             )
                                                     )


TO:    THE HONORABLE NANCY E. BRASEL, JUDGE OF MINNESOTA FEDERAL
       DISTRICT COURT; THE HONORABLE DAVID T. SCHULTZ, MAGISTRATE
       JUDGE OF MINNESOTA FEDERAL DISTRICT COURT; AND RUTH
       SHNIDER, ASSISTANT UNITED STATED ATTORNEY FOR THE PLAINTIFF
       UNITED STATES OF AMERICA.

       Pursuant to 18 U.S.C. § 3161(h)(7)(A),the defendant undersigned defendant, William

Howard Proto, Jr. (“Proto”), agrees to the following statement of facts in support of his motion to

exclude time under the Speedy Trial Act:

       The indictment, filed on August 11, 2021, alleges that Proto committed: 1) Possession

with Intent to Distribute a Controlled Substance, and 2) Felon in Possession of a Firearm. Proto

remains detained pending disposition of these charges pursuant to the Court’s August 20, 2021

Order of Detention. The Court scheduled Proto’s jury trial for January 3, 2021.

       On October 14, 2021, Proto, through his undersigned attorney, filed a Notice of

Appearance. In it, the undersigned attorney substituted Proto’s court-appointed federal defender.

The next day, the government disclosed its evidence against Proto to the undersigned attorney.

On October 22, 2021 and November 9, 2021, the undersigned attorney talked to AUSA Ruth

Shnider about requesting an adjournment of the January 3, 2021 jury trial. As grounds, as Proto’s

newly-retained counsel, the undersigned attorney needs more time to review the evidence and
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discuss options with Proto. The government does not oppose rescheduling the Janury 3, 2021

jury trial.

        Based on the foregoing facts, Proto requests that the period of time from now until

January 3, 2021 be excluded from the time in which he would otherwise have to be brought to

trial. Proto discussed this matter with his undersigned attorney. As indicated by his signature

below, he makes this request voluntarily, with full knowledge of his rights under the Speedy

Trial Act.

                                                             RESPECTFULLY SUBMITTED,

REPKA LAW, LLC



______________________________                               _________________________
Daniel Repka (MN Atty ID: 395015)                            William Howard Proto
Attorney for Defendant                                       Defendant
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